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AO 106(Rev. 01/09) Application for a Search Warrant



                                                  United States District
                                                                                             for the
                                                                                                                                               MAY 0 3 ZG18
                                                                      Western District of New York

                                                  In the Matter of the Search of
                              (Briefly describe ihe properly lo he searched or idetUify the person by ruime and address.)


 Black and pink T-Mobile cellular phone, IMEI: 861273032909088(Subject Phone 1)
 Black and white Apple iPhone 8(Subject Phone 2)
 Grey LG cellular telephone, Model number LGM5210,FCC ID: ZNFM210, Serial                                                                Case No. 18-M-^ /
 number: 705VTFW820763(Subject Phone 3)

                                                   APPLICATION FOR A SEARCH WARRANT

       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of peijury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched andgive its location)'.

 See descriptions included in Exhibit A, attached and incorporated by reference.

located in the Western District of New York, there is now concealed (identify the person or describe the property to he seized)'.
 The items set forth on the attached schedule of items to be seized, attached hereto as Exhibit B and incorporated by
 reference.

The basis for search under Fed. R. Crim. P. 41(c) is (check one or more)'.
            K     evidence of a crime;
            B contraband, fruits of crime, or other items illegally possessed;
            E property designed for use, intended for use, or used in committing a crime;
            □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of 21 U.S.C. §§ S41(a)(l), 843(b), 844(a), and 846

The application is based on these facts:

            B     continued on the attached sheet.
            □     Delayed notice of      days (give exact ending date if more than 30 days:                                                              -) is
                  requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                                              Applicant's signature


                                                                                                           THOMAS V.WEIS
                                                                                                           Special Agent
                                                                                                           Federal Bureau Of Investigation
                                                                                                                               Printed name and title


Sworn to before me and signed in my presence.
                                                                                                                               J

Date:        Mav JT .2018
                                                                                                                                   Judge s signature


                                                                                                           HONORABLE El. KENNETH SCHROEDER, JR.
City and state: Buffalo. New York                                                                          United States Magistrate Judge
                                                                                                                                Printed name and Title
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